                                               HONORABLE MICHELLE L. PETERSON
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                          UNITED STATES DISTRICT COURT
 9                  FOR THE WESTERN DISTRICT OF WASHINGTON
10                                 AT SEATTLE

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     __________________________________________
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13   WILD FISH CONSERVANCY,                    )    Case No. 2:20-cv-417-RAJ-MLP
14                                             )
                 Plaintiff,                    )    DEFENDANTS’ ANSWER
15                                             )
                                               )
16         v.                                  )
17                                             )
     BARRY THOM, et al.,                       )
18                                             )
                 Defendants,                   )
19
                                               )
20         and                                 )
                                               )
21   ALASKA TROLLERS ASSOCIATION,              )
                                               )
22
                 Defendant-Intervenor.         )
23                                             )
     __________________________________________)
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                                                          U.S. Department of Justice
                                                          P.O. Box 7611
     Defendants’ Answer                                   Washington, D.C. 20044
     Case No. 2:20-CV-417-RAJ-MLP                         (202) 305-0641
              Defendants Barry Thom, in his official capacity as Regional Administrator of the
 1
 2   National Marine Fisheries Service (NMFS); Chris Oliver, in his official capacity as Assistant

 3   Administrator of NMFS; NMFS; Wilbur Ross, in his official capacity as the Secretary of the
 4
     U.S. Department of Commerce; and the U.S. Department of Commerce (collectively,
 5
     Defendants) by and through its undersigned counsel, hereby answer the claims and allegations
 6
 7   made by Plaintiff in the Complaint (Dkt. # 1). All allegations of the Complaint that are not

 8   specifically admitted, denied, or qualified are hereby expressly denied.
 9            1.     Defendants admit the allegations contained in Paragraph 1.
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              2.     In response to the allegations contained in the first sentence of Paragraph 2,
11
     Defendants admit that a Southern Resident killer whale (SRKW) carried her dead calf, but aver
12
13   that the calf was female. The remaining allegations contained in the first sentence of Paragraph 2

14   are too vague and ambiguous to permit a response, and Defendants deny them on that basis. In
15   response to the allegations contained in the second sentence of Paragraph 2, Defendants admit
16
     that the SRKW known as Scarlet disappeared, but aver that she was not of reproductive age.
17
     Defendants lack information or knowledge sufficient to form a belief as to the truth of the
18
19   remaining allegations contained in the second sentence of Paragraph 2, and deny the allegations

20   on that basis. Defendants lack information or knowledge sufficient to form a belief as to the truth
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     of the allegations contained in the third sentence of Paragraph 2, and deny the allegations on that
22
     basis.
23
              3.     Defendants lack information or knowledge sufficient to form a belief as to the
24
25   truth of the allegations contained in Paragraph 3, and deny the allegations on that basis.

26            4.     In response to the allegations contained in Paragraph 4, Defendants aver that the
27
     three most important limiting factors appear to be prey quantity and quality, disturbance from
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     sound and vessels, and toxic contaminants. Defendants deny the remaining allegations contained
 1
 2   in Paragraph 4.

 3          5.         In response to the allegations contained in the first sentence of Paragraph 5,
 4
     Defendants admit that the Secretary of Commerce has delegated to NMFS the authority to
 5
     regulate fisheries in the Exclusive Economic Zone (EEZ). The remaining allegations contained
 6
 7   in the first sentence of Paragraph 5 are conclusions of law, to which no response is required. To

 8   the extent that a response is required, Defendants deny each allegation. In response to the
 9   allegations contained in the second sentence of Paragraph 5, Defendants admit that Chinook
10
     salmon are migratory and cross borders. The remaining allegations contained in the second
11
     sentence of Paragraph 5 purport to characterize the Pacific Salmon Treaty (PST), which speaks
12
13   for itself and is the best evidence of its contents. Defendants deny any allegation inconsistent

14   with the PST’s plain language, context, or meaning. The allegations contained in the third,
15   fourth, and fifth sentences of Paragraph 5 purport to characterize the PST, which speaks for itself
16
     and is the best evidence of its contents. Defendants deny any allegation inconsistent with the
17
     PST’s plain language, context, or meaning. The allegations contained in the sixth sentence of
18
19   Paragraph 5 are conclusions of law, to which no response is required. To the extent that a

20   response is required, Defendants deny each allegation.
21
            6.      In response to the allegations contained in Paragraph 6, Defendants admit that
22
     NMFS issued a Biological Opinion (BiOp) on April 5, 2019 entitled “Endangered Species Act
23
     (ESA) Section 7(a)(2) Biological Opinion and Magnuson-Stevens Fishery Conservation and
24
25   Management Act Essential Fish Habitat Response, Consultation on the Delegation of

26   Management Authority for Specified Salmon Fisheries to the State of Alaska.” The remaining
27
     allegations contained in Paragraph 6 purport to characterize the BiOp, which speaks for itself and
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     is the best evidence of its contents. Defendants deny any allegation inconsistent with the BiOp’s
 1
 2   plain language, context, or meaning.

 3          7.      In response to the allegations contained in the first sentence of Paragraph 7,
 4
     Defendants admit that the Puget Sound, Lower Columbia River, Upper Willamette River, and
 5
     Snake River fall-run Chinook salmon are listed as threatened evolutionarily significant units
 6
 7   (ESU). The remaining allegations contained in the first sentence of Paragraph 7 are too vague

 8   and ambiguous to permit a response, and Defendants deny them on that basis. Defendants deny
 9   the allegations contained in the second sentence of Paragraph 7.
10
            8.      The allegations contained in Paragraph 8 purport to characterize the BiOp, which
11
     speaks for itself and is the best evidence of its contents. Defendants deny any allegation
12
13   inconsistent with the BiOp’s plain language, context, or meaning.

14          9.      The allegations contained in Paragraph 9 purport to characterize the BiOp, which
15   speaks for itself and is the best evidence of its contents. Defendants deny any allegation
16
     inconsistent with the BiOp’s plain language, context, or meaning.
17
            10.     The allegations contained in the first, second, third, fourth, and fifth sentences of
18
19   Paragraph 10 purport to characterize the BiOp, which speaks for itself and is the best evidence of

20   its contents. Defendants deny any allegation inconsistent with the BiOp’s plain language,
21
     context, or meaning. The allegations contained in the sixth sentence of Paragraph 10 purport to
22
     characterize unidentified data, which speaks for itself and is the best evidence of its contents.
23
     Defendants deny any allegation inconsistent with the plain language, context, or meaning of the
24
25   unidentified data.

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            11.     The allegations contained in Paragraph 11 purport to characterize the BiOp, which
 1
 2   speaks for itself and is the best evidence of its contents. Defendants deny any allegation

 3   inconsistent with the BiOp’s plain language, context, or meaning.
 4
            12.     The allegations contained in Paragraph 12 purport to characterize the BiOp, which
 5
     speaks for itself and is the best evidence of its contents. Defendants deny any allegation
 6
 7   inconsistent with the BiOp’s plain language, context, or meaning.

 8          13.     The allegations contained in Paragraph 13 consist of characterizations of the
 9   Complaint and the relief requested, to which no response is required. To the extent that a
10
     response is required, Defendants deny each allegation.
11
            14.     Defendants lack information or knowledge sufficient to form a belief as to the
12
13   truth of the allegations contained in Paragraph 14, and Defendant deny them on that basis.

14          15.     Defendants lack information or knowledge sufficient to form a belief as to the
15   truth of the allegations contained in Paragraph 15, and Defendant deny them on that basis.
16
            16.     Defendants lack information or knowledge sufficient to form a belief as to the
17
     truth of the allegations contained in Paragraph 16, and Defendant deny them on that basis.
18
19          17.     The allegations contained in Paragraph 17 are conclusions of law, to which no

20   response is required. To the extent a response is required, Defendants deny each allegation.
21
            18.     The allegations contained in the first and third sentences of Paragraph 18 are
22
     conclusions of law, to which no response is required. To the extent a response is required,
23
     Defendants deny each allegation. Defendants lack information or knowledge sufficient to form a
24
25   belief as to the truth of the allegations contained in the second sentence of Paragraph 18, and

26   Defendant deny them on that basis.
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            19.     The allegations contained in Paragraph 19 are conclusions of law, to which no
 1
 2   response is required. To the extent a response is required, Defendants deny each allegation.

 3          20.     In response to the allegations contained in the first and second sentences of
 4
     Paragraph 20, Defendants admit that Barry Thom is the Regional Administrator for the West
 5
     Coast Region of NMFS. The remaining allegations contained in the first and second sentences of
 6
 7   Paragraph 20 are conclusions of law, to which no response is required. To the extent a response

 8   is required, Defendants deny each allegation. Defendants admit the allegations contained in the
 9   third sentence of Paragraph 20.
10
            21.     In response to the allegations contained in Paragraph 21, Defendants admit that
11
     Chris Oliver is the Assistant Administrator of NMFS. The remaining allegations contained in
12
13   Paragraph 21 are conclusions of law, to which no response is required. To the extent a response

14   is required, Defendants deny each allegation.
15          22.     In response to the allegations contained in the first sentence of Paragraph 22,
16
     Defendants admit that the NMFS is an office within the National Oceanic and Atmospheric
17
     Administration (NOAA) and aver that NOAA is a bureau within the Department of Commerce.
18
19   The remaining allegations contained in the first sentence of Paragraph 22 are too vague and

20   ambiguous to permit a response, and Defendants deny them on that basis. In response to the
21
     allegations contained in the second sentence of Paragraph 22, Defendants admit that NMFS has
22
     been delegated authority to regulate fisheries in the EEZ. The remaining allegations contained in
23
     the second sentence of Paragraph 22 are conclusions of law, to which no response is required. To
24
25   the extent a response is required, Defendants deny each allegation. Defendants admit the

26   allegations contained in the third sentence of Paragraph 22.
27
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            23.     In response to the allegations contained in Paragraph 23, Defendants admit that
 1
 2   Wilbur Ross is the Secretary of Commerce. The remaining allegations contained in Paragraph 23

 3   are conclusions of law, to which no response is required. To the extent a response is required,
 4
     Defendants deny each allegation.
 5
            24.     Defendants admit the allegations contained in the first sentence of Paragraph 24.
 6
 7   The allegations contained in the second sentence of Paragraph 24 are conclusions of law, to

 8   which no response is required. To the extent a response is required, Defendants deny each
 9   allegation.
10
            25.     The allegations contained in the first and second sentences of Paragraph 25 are
11
     conclusions of law, to which no response is required. To the extent a response is required,
12
13   Defendants deny each allegation. In response to the allegations contained in the third sentence of

14   Paragraph 25, Defendants admit that NMFS received a letter from Plaintiffs dated and
15   postmarked January 9, 2020. The remaining allegations contained in the third sentence of
16
     Paragraph 25 are conclusions of law, to which no response is required. To the extent a response
17
     is required, Defendants deny each allegation. The allegations contained in the fourth sentence of
18
19   Paragraph 25 purport to characterize a letter, which speaks for itself and is the best evidence of

20   its contents. Defendants deny any allegation inconsistent with the letter’s plain language,
21
     context, or meaning.
22
            26.     The allegations contained in Paragraph 26 are conclusions of law, to which no
23
     response is required. To the extent a response is required, Defendants deny each allegation.
24
25          27.     The allegations contained in the first sentence of Paragraph 27 are conclusions of

26   law, to which no response is required. To the extent a response is required, Defendants deny each
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     allegation. Defendants deny the allegations contained in the second, third, and fourth sentences
 1
 2   of Paragraph 27.

 3          28.     The allegations contained in Paragraph 28 appear to quote and characterize the
 4
     Endangered Species Act (ESA), which speaks for itself and is the best evidence of its contents.
 5
     Defendants deny any allegation inconsistent with the ESA’s plain language, context, or meaning.
 6
 7          29.     The allegations contained in Paragraph 29 appear to quote and characterize the

 8   ESA, which speaks for itself and is the best evidence of its contents. Defendants deny any
 9   allegation inconsistent with the ESA’s plain language, context, or meaning.
10
            30.     The allegations contained in Paragraph 30 purport to characterize NMFS and Fish
11
     and Wildlife Service (FWS) regulations, which speak for themselves and are the best evidence of
12
13   their contents. Defendants deny any allegation inconsistent with the plain language, context, or

14   meaning of the NMFS and FWS regulations.
15          31.     The allegations contained in Paragraph 31 appear to quote and characterize the
16
     ESA and a NMFS regulation, which speak for themselves and are the best evidence of their
17
     contents. Defendants deny any allegation inconsistent with the plain language, context, or
18
19   meaning of the ESA or the NMFS regulation.

20          32.     The allegations contained in Paragraph 32 appear to quote and characterize the
21
     ESA and NMFS regulations, which speak for themselves and are the best evidence of their
22
     contents. Defendants deny any allegation inconsistent with the plain language, context, or
23
     meaning of the ESA or the NMFS regulations.
24
25          33.     The allegations contained in Paragraph 33 appear to quote and characterize the

26   ESA and a NMFS regulation, which speak for themselves and are the best evidence of their
27
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     contents. Defendants deny any allegation inconsistent with the plain language, context, or
 1
 2   meaning of the ESA or the NMFS regulation.

 3          34.     The allegations contained in Paragraph 34 appear to quote and characterize the
 4
     ESA, which speaks for itself and is the best evidence of its contents. Defendants deny any
 5
     allegation inconsistent with the ESA’s plain language, context, or meaning. The allegations
 6
 7   contained in Paragraph 34 also purport to characterize a court decision, which speaks for itself

 8   and is the best evidence of its contents. Defendants deny any allegation inconsistent with the
 9   plain language, context, or meaning of the court decision.
10
            35.     The allegations contained in Paragraph 35 appear to quote and characterize a
11
     NMFS regulation, which speaks for itself and is the best evidence of its contents. Defendants
12
13   deny any allegation inconsistent with the plain language, context, or meaning of the NMFS

14   regulation.
15          36.     The allegations contained in Paragraph 36 appear to quote and characterize the
16
     ESA and a NMFS regulation, which speak for themselves and are the best evidence of their
17
     contents. Defendants deny any allegation inconsistent with the plain language, context, or
18
19   meaning of the ESA or the NMFS regulation.

20          37.     The allegations contained in Paragraph 37 appear to quote and characterize the
21
     ESA and a NMFS regulation, which speak for themselves and are the best evidence of their
22
     contents. Defendants deny any allegation inconsistent with the plain language, context, or
23
     meaning of the ESA or the NMFS regulation.
24
25          38.     The allegations contained in Paragraph 38 appear to quote and characterize a

26   NMFS regulation, which speaks for itself and is the best evidence of its contents. Defendants
27
28
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     deny any allegation inconsistent with the plain language, context, or meaning of the NMFS
 1
 2   regulation.

 3          39.        The allegations contained in Paragraph 39 purport to characterize a NMFS
 4
     regulation, which speaks for itself and is the best evidence of its contents. Defendants deny any
 5
     allegation inconsistent with the plain language, context, or meaning of the NMFS regulation.
 6
 7          40.        The allegations contained in Paragraph 40 appear to quote and characterize ESA

 8   and a NMFS regulation, which speak for themselves and are the best evidence of their contents.
 9   Defendants deny any allegation inconsistent with the plain language, context, or meaning of the
10
     ESA or the NMFS regulation. The allegations contained in Paragraph 40 also purport to
11
     characterize a court decision, which speaks for itself and is the best evidence of its contents.
12
13   Defendants deny any allegation inconsistent with the plain language, context, or meaning of the

14   court decision.
15          41.        The allegations contained in Paragraph 41 purport to characterize the ESA and a
16
     NMFS regulation, which speak for themselves and are the best evidence of their contents.
17
     Defendants deny any allegation inconsistent with the plain language, context, or meaning of the
18
19   ESA or the NMFS regulation.

20          42.        The allegations contained in the first sentence of Paragraph 42 purport to
21
     characterize a court decision, which speaks for itself and is the best evidence of its contents.
22
     Defendants deny any allegation inconsistent with the plain language, context, or meaning of the
23
     court decision. The allegations contained in the second sentence of Paragraph 42 appear to quote
24
25   and characterize a NMFS regulation, which speaks for itself and is the best evidence of its

26   contents. Defendants deny any allegation inconsistent with the plain language, context, or
27
     meaning of the NMFS regulation.
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            43.     The allegations contained in Paragraph 43 purport to characterize the National
 1
 2   Environmental Policy Act (NEPA), which speaks for itself and is the best evidence of its

 3   contents. Defendants deny any allegation inconsistent with NEPA’s plain language, context, or
 4
     meaning.
 5
            44.     The allegations contained in Paragraph 44 appear to quote and characterize
 6
 7   Council on Environmental Quality (CEQ) regulations, which speak for themselves and are the

 8   best evidence of their contents. Defendants deny any allegation inconsistent with the plain
 9   language, context, or meaning of the CEQ regulations.
10
            45.     The allegations contained in Paragraph 45 appear to quote and characterize
11
     NEPA, which speaks for itself and is the best evidence of its contents. Defendants deny any
12
13   allegation inconsistent with NEPA’s plain language, context, or meaning.

14          46.     The allegations contained in Paragraph 46 appear to quote and characterize
15   NEPA, which speaks for itself and is the best evidence of its contents. Defendants deny any
16
     allegation inconsistent with NEPA’s plain language, context, or meaning.
17
            47.     The allegations contained in Paragraph 47 appear to quote and characterize CEQ
18
19   regulations, which speak for themselves and are the best evidence of their contents. Defendants

20   deny any allegation inconsistent with the plain language, context, or meaning of the CEQ
21
     regulations.
22
            48.     The allegations contained in Paragraph 48 appear to quote and characterize a CEQ
23
     regulation, which speaks for itself and is the best evidence of its contents. Defendants deny any
24
25   allegation inconsistent with the plain language, context, or meaning of the CEQ regulation.

26          49.     The allegations contained in Paragraph 49 appear to quote and characterize CEQ
27
     regulations, which speak for themselves and are the best evidence of their contents. Defendants
28
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     deny any allegation inconsistent with the plain language, context, or meaning of the CEQ
 1
 2   regulations.

 3          50.     The allegations contained in Paragraph 50 appear to quote and characterize
 4
     NEPA, which speaks for itself and is the best evidence of its contents. Defendants deny any
 5
     allegation inconsistent with NEPA’s plain language, context, or meaning.
 6
 7          51.     The allegations contained in Paragraph 51 appear to quote and characterize a CEQ

 8   regulation and a CEQ document published in the Federal Register, which speak for themselves
 9   and are the best evidence of their contents. Defendants deny any allegation inconsistent with the
10
     plain language, context, or meaning of the CEQ regulation or CEQ document. The allegations
11
     contained in Paragraph 51 also purport to characterize a court decision, which speaks for itself
12
13   and is the best evidence of its contents. Defendants deny any allegation inconsistent with the

14   plain language, context, or meaning of the court decision.
15          52.     The allegations contained in Paragraph 52 appear to quote and characterize the
16
     Magnuson-Stevens Fishery Conservation and Management Act (MSA), which speaks for itself
17
     and is the best evidence of its contents. Defendants deny any allegation inconsistent with the
18
19   MSA’s plain language, context, or meaning.

20          53.     The allegations contained in Paragraph 53 appear to quote and characterize the
21
     MSA and a Presidential Proclamation, which speak for themselves and are the best evidence of
22
     their contents. Defendants deny any allegation inconsistent with the plain language, context, or
23
     meaning of the MSA or the Presidential Proclamation.
24
25          54.     The allegations contained in Paragraph 54 purport to characterize the MSA and

26   two Department of Commerce documents, which speak for themselves and are the best evidence
27
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     of their contents. Defendants deny any allegation inconsistent with the plain language, context,
 1
 2   or meaning of the MSA or the Department of Commerce documents.

 3          55.     The allegations contained in Paragraph 55 purport to characterize the MSA, which
 4
     speaks for itself and is the best evidence of its contents. Defendants deny any allegation
 5
     inconsistent with the MSA’s plain language, context, or meaning.
 6
 7          56.      The allegations contained in Paragraph 56 appear to quote and characterize the

 8   MSA, which speaks for itself and is the best evidence of its contents. Defendants deny any
 9   allegation inconsistent with the MSA’s plain language, context, or meaning.
10
            57.      The allegations contained in Paragraph 57 purport to characterize the MSA,
11
     which speaks for itself and is the best evidence of its contents. Defendants deny any allegation
12
13   inconsistent with the MSA’s plain language, context, or meaning.

14          58.     The allegations contained in Paragraph 58 purport to characterize the MSA, which
15   speaks for itself and is the best evidence of its contents. Defendants deny any allegation
16
     inconsistent with the MSA’s plain language, context, or meaning.
17
            59.     The allegations contained in Paragraph 59 appear to quote and characterize the
18
19   MSA, which speaks for itself and is the best evidence of its contents. Defendants deny any

20   allegation inconsistent with the MSA’s plain language, context, or meaning.
21
            60.     The allegations contained in Paragraph 60 purport to characterize the
22
     Administrative Procedure Act (APA), which speaks for itself and is the best evidence of its
23
     contents. Defendants deny any allegation inconsistent with the APA’s plain language, context, or
24
25   meaning.

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             61.    The allegations contained in Paragraph 61 appear to quote and characterize the
 1
 2   APA, which speaks for itself and is the best evidence of its contents. Defendants deny any

 3   allegation inconsistent with the APA’s plain language, context, or meaning.
 4
             62.    The allegations contained in Paragraph 62 appear to quote and characterize a
 5
     court decision, which speaks for itself and is the best evidence of its contents. Defendants deny
 6
 7   any allegation inconsistent with the plain language, context, or meaning of the court decision.

 8           63.    The allegations contained in Paragraph 63 appear to quote and characterize the
 9   APA, which speaks for itself and is the best evidence of its contents. Defendants deny any
10
     allegation inconsistent with the APA’s plain language, context, or meaning.
11
             64.    In response to the allegations contained in the first sentence of Paragraph 64,
12
13   Defendants admit that SRKW are black and white and known as orcas. The remaining

14   allegations contained in the first sentence of Paragraph 64 are too vague and ambiguous to
15   permit a response, and Defendants deny them on that basis. Defendants admit the allegations
16
     contained in the second sentence of Paragraph 64. Defendants lack information or knowledge
17
     sufficient to form a belief as to the truth of the allegations contained in the third sentence of
18
19   Paragraph 64, and deny the allegations on that basis.

20           65.    Defendants admit the allegations contained in Paragraph 65.
21
             66.    In response to the allegations contained in Paragraph 66, Defendants aver that
22
     SRKW movements are highly variable from year to year. The remaining allegations contained in
23
     Paragraph 66 are too vague and ambiguous to permit a response, and Defendants deny them on
24
25   that basis.

26           67.    Defendants admit the allegations contained in the first sentence of Paragraph 67.
27
     The allegations contained in the second, third, fourth, and fifth sentences of Paragraph 67 purport
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     to characterize the Recovery Plan, which speaks for itself and is the best evidence of its contents.
 1
 2   Defendants deny any allegation inconsistent with the Recovery Plan’s plain language, context, or

 3   meaning.
 4
            68.     In response to the allegations contained in the first sentence of Paragraph 68,
 5
     Defendants avers that the SRKW population has been declining. The remaining allegations
 6
 7   contained in the first sentence of Paragraph 68 are too vague and ambiguous to permit a

 8   response, and Defendants deny them on that basis. The allegations contained in the second and
 9   third sentences of Paragraph 68 are too vague and ambiguous to permit a response, and
10
     Defendants deny them on that basis.
11
            69.     The allegations contained in the first sentence of Paragraph 69 are too vague and
12
13   ambiguous to permit a response, and Defendants deny them on that basis. The allegations

14   contained in the second sentence of Paragraph 69 purport to characterize a 2009 BiOp, which
15   speaks for itself and is the best evidence of its contents. Defendants deny any allegation
16
     inconsistent with the 2009 BiOp’s plain language, context, or meaning.
17
            70.     The allegations contained in the first sentence of Paragraph 70 are too vague and
18
19   ambiguous to permit a response, and Defendants deny them on that basis. In response to the

20   allegations contained in the second sentence of Paragraph 70, Defendants aver that SRKW have
21
     been observed to spend time both in the Salish Sea and on the West Coast as far south as
22
     California and as far north as Southeast Alaska. The remaining allegations contained in the
23
     second sentence of Paragraph 70 are too vague and ambiguous to permit a response, and
24
25   Defendants deny them on that basis. In response to the allegations contained in the third sentence

26   of Paragraph 70, Defendants aver that SRKW have been reported to consume a variety of fish
27
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     species and one species of squid. Defendants deny the remaining allegations contained in the
 1
 2   third sentence of Paragraph 70.

 3          71.     In response to the allegations contained in Paragraph 71, Defendants aver that the
 4
     three most important limiting factors appear to be prey quantity and quality, disturbance from
 5
     sound and vessels, and toxic contaminants. Defendants deny the remaining allegations contained
 6
 7   in Paragraph 71.

 8          72.     The allegations contained in the first sentence of Paragraph 72 are too vague and
 9   ambiguous to permit a response, and Defendants deny them on that basis.
10
            73.     The allegations contained in Paragraph 73 purport to characterize a population
11
     viability assessment, which speaks for itself and is the best evidence of its contents. Defendants
12
13   deny any allegation inconsistent with the population viability assessment’s plain language,

14   context, or meaning.
15          74.     Defendants admit the allegations contained in Paragraph 74.
16
            75.     Defendants admit the allegations contained in Paragraph 75.
17
            76.     Defendants admit the allegations contained in Paragraph 76.
18
19          77.     Defendants admit the allegations contained in Paragraph 77.

20          78.     Defendants admit the allegations contained in Paragraph 78.
21
            79.     Defendants admit the allegations contained in Paragraph 79.
22
            80.     In response to the allegations contained in Paragraph 80, Defendants aver that in
23
     the last status review, NMFS determined that the listing status for the ESUs should not be
24
25   changed. Defendants lack information or knowledge sufficient to form a belief as to the truth of

26   the remaining allegations contained in Paragraph 80, and deny the allegations on that basis.
27
28
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             81.    The allegations contained in Paragraph 81 are too vague and ambiguous to permit
 1
 2   a response, and Defendants deny them on that basis.

 3           82.    The allegations contained in the first sentence of Paragraph 82 purport to
 4
     characterize the MSA, which speaks for itself and is the best evidence of its contents. Defendants
 5
     deny any allegation inconsistent with the MSA’s plain language, context, or meaning. The
 6
 7   allegations contained in the second sentence of Paragraph 82 purport to characterize the Fishery

 8   Management Plan for the Salmon Fisheries in the EEZ Off Alaska (Salmon FMP), which speaks
 9   for itself and is the best evidence of its contents. Defendants deny any allegation inconsistent
10
     with the Salmon FMP’s plain language, context, or meaning.
11
             83.    The allegations contained in the first sentence of Paragraph 83 purport to
12
13   characterize the Salmon FMP, which speaks for itself and is the best evidence of its contents.

14   Defendants deny any allegation inconsistent with the Salmon FMP’s plain language, context, or
15   meaning. The allegations contained in the second sentence of Paragraph 83 are too vague and
16
     ambiguous to permit a response, and Defendants deny them on that basis.
17
             84.    The allegations contained in the first, second, and third sentences of Paragraph 84
18
19   purport to characterize the Salmon FMP, which speaks for itself and is the best evidence of its

20   contents. Defendants deny any allegation inconsistent with the Salmon FMP’s plain language,
21
     context, or meaning. In response to the allegations contained in the fourth sentence of Paragraph
22
     84, NMFS avers that it may provide federal funds, through grants, to the State of Alaska to assist
23
     with the State’s obligations under the PST, including to monitor and manage commercial and
24
25   sport salmon fisheries in Southeast Alaska. The allegations remaining in the fourth sentence of

26   Paragraph 84 are too vague and ambiguous to permit a response, and Defendants deny them on
27
     that basis.
28
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            85.     The allegations contained in Paragraph 85 purport to characterize the Salmon
 1
 2   FMP, which speaks for itself and is the best evidence of its contents. Defendants deny any

 3   allegation inconsistent with the Salmon FMP’s plain language, context, or meaning.
 4
            86.     The allegations contained in Paragraph 86 purport to characterize the PST, which
 5
     speaks for itself and is the best evidence of its contents. Defendants deny any allegation
 6
 7   inconsistent with the PST’s plain language, context, or meaning.

 8          87.     The allegations contained in Paragraph 87 purport to characterize the PST, which
 9   speaks for itself and is the best evidence of its contents. Defendants deny any allegation
10
     inconsistent with the PST’s plain language, context, or meaning.
11
            88.     The allegations contained in Paragraph 88 appears to quote and characterize a
12
13   2003 Environmental Impact Statement (EIS), which speaks for itself and is the best evidence of

14   its contents. Defendants deny any allegation inconsistent with the EIS’s plain language, context,
15   or meaning.
16
            89.     The allegations contained in Paragraph 89 purport to characterize the PST, which
17
     speaks for itself and is the best evidence of its contents. Defendants deny any allegation
18
19   inconsistent with the PST’s plain language, context, or meaning.

20          90.     The allegations contained in Paragraph 90 purport to characterize the BiOp, which
21
     speaks for itself and is the best evidence of its contents. Defendants deny any allegation
22
     inconsistent with the BiOp’s plain language, context, or meaning.
23
            91.      The allegations contained in the first sentence of Paragraph 91 are too vague and
24
25   ambiguous to permit a response, and Defendants deny them on that basis. Defendants deny the

26   allegations contained in the second sentence of Paragraph 91.
27
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            92.     The allegations contained in Paragraph 92 appear to quote and characterize the
 1
 2   BiOp, which speaks for itself and is the best evidence of its contents. Defendants deny any

 3   allegation inconsistent with the BiOp’s plain language, context, or meaning.
 4
            93.     The allegations contained in Paragraph 93 purport to characterize the BiOp, which
 5
     speaks for itself and is the best evidence of its contents. Defendants deny any allegation
 6
 7   inconsistent with the BiOp’s plain language, context, or meaning.

 8          94.     The allegations contained in Paragraph 94 purport to characterize the BiOp, which
 9   speaks for itself and is the best evidence of its contents. Defendants deny any allegation
10
     inconsistent with the BiOp’s plain language, context, or meaning.
11
            95.     The allegations contained in Paragraph 95 are conclusions of law, to which no
12
13   response is required. To the extent a response is required, Defendants deny each allegation.

14          96.     The allegations contained in Paragraph 96 appear to quote and characterize the
15   BiOp, which speaks for itself and is the best evidence of its contents. Defendants deny any
16
     allegation inconsistent with the BiOp’s plain language, context, or meaning.
17
            97.     The allegations contained in the first, second, third, fourth, and fifth sentences of
18
19   Paragraph 97 purport to characterize the BiOp, which speaks for itself and is the best evidence of

20   its contents. Defendants deny any allegation inconsistent with the BiOp’s plain language,
21
     context, or meaning. The allegations contained in the sixth sentence of Paragraph 97 purport to
22
     characterize unidentified data, which speaks for itself and is the best evidence of its contents.
23
     Defendants deny any allegation inconsistent with the plain language, context, or meaning of the
24
25   unidentified data.

26
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            98.     The allegations contained in Paragraph 98 purport to characterize the BiOp, which
 1
 2   speaks for itself and is the best evidence of its contents. Defendants deny any allegation

 3   inconsistent with the BiOp’s plain language, context, or meaning.
 4
            99.     The allegations contained in Paragraph 99 purport to characterize the BiOp, which
 5
     speaks for itself and is the best evidence of its contents. Defendants deny any allegation
 6
 7   inconsistent with the BiOp’s plain language, context, or meaning.

 8          100.    The allegations contained in Paragraph 100 appear to quote and characterize the
 9   BiOp, which speaks for itself and is the best evidence of its contents. Defendants deny any
10
     allegation inconsistent with the BiOp’s plain language, context, or meaning.
11
            101.    The allegations contained in Paragraph 101 purport to characterize the BiOp,
12
13   which speaks for itself and is the best evidence of its contents. Defendants deny any allegation

14   inconsistent with the BiOp’s plain language, context, or meaning.
15          102.    The allegations contained in Paragraph 102 appear to quote and characterize the
16
     BiOp, which speaks for itself and is the best evidence of its contents. Defendants deny any
17
     allegation inconsistent with the BiOp’s plain language, context, or meaning.
18
19          103.    The allegations contained in the first, second, and third sentences of Paragraph

20   103 purport to characterize the BiOp, which speaks for itself and is the best evidence of its
21
     contents. Defendants deny any allegation inconsistent with the BiOp’s plain language, context,
22
     or meaning. Defendants deny the allegations contained in the fourth sentence of Paragraph 103.
23
            104.    The allegations contained in Paragraph 104 are conclusions of law, to which no
24
25   response is required. To the extent a response is required, Defendants deny each allegation.

26          105.    The allegations contained in Paragraph 105 are conclusions of law, to which no
27
     response is required. To the extent a response is required, Defendants deny each allegation.
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            106.    The allegations contained in Paragraph 106 are conclusions of law, to which no
 1
 2   response is required. To the extent a response is required, Defendants deny each allegation.

 3          107.    The allegations contained in Paragraph 107 are conclusions of law, to which no
 4
     response is required. To the extent a response is required, Defendants deny each allegation.
 5
            108.    The allegations contained in Paragraph 108 are conclusions of law, to which no
 6
 7   response is required. To the extent a response is required, Defendants deny each allegation.

 8          109.    The allegations contained in Paragraph 109 are too vague and ambiguous to
 9   permit a response, and Defendants deny them on that basis. The allegations contained in
10
     Footnote 3 purport to characterize Alaska Department of Fish and Game (ADFG) documents,
11
     which speak for themselves and are the best evidence of their contents. Defendants deny any
12
13   allegation inconsistent with the plain language, context, or meaning of the ADFG documents.

14          110.    The allegations contained in Paragraph 110 are conclusions of law, to which no
15   response is required. To the extent a response is required, Defendants deny each allegation.
16
            111.    The allegations contained in the first sentence of Paragraph 111 are conclusions of
17
     law, to which no response is required. To the extent a response is required, Defendants deny each
18
19   allegation. The allegations contained in the second and third sentences of Paragraph 111 purport

20   to characterize the BiOp, which speaks for itself and is the best evidence of its contents.
21
     Defendants deny any allegation inconsistent with the BiOp’s plain language, context, or
22
     meaning.
23
            112.    The allegations contained in Paragraph 112 are conclusions of law, to which no
24
25   response is required. To the extent a response is required, Defendants deny each allegation.

26          113.    The allegations contained in Paragraph 113 are conclusions of law, to which no
27
     response is required. To the extent a response is required, Defendants deny each allegation.
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            114.    Defendants deny the allegations contained in Paragraph 114.
 1
 2          115.    The allegations contained in Paragraph 115 are conclusions of law, to which no

 3   response is required. To the extent a response is required, Defendants deny each allegation.
 4
            116.    Defendants deny the allegations contained in Paragraph 116.
 5
            117.    The allegations contained in Paragraph 117 are conclusions of law, to which no
 6
 7   response is required. To the extent a response is required, Defendants deny each allegation.

 8          118.    Defendants deny the allegations contained in Paragraph 118.
 9          119.    The allegations contained in Paragraph 119 are conclusions of law, to which no
10
     response is required. To the extent a response is required, Defendants deny each allegation.
11
            The remainder of the Complaint constitutes Plaintiff’s prayer for relief, to which no
12
13   response is required. To the extent that a response is required, Defendants deny that Plaintiff is

14   entitled to the relief requested or to any relief whatsoever.
15                                          GENERAL DENIAL
16
            Defendants deny any allegations of the Complaint, whether express or implied, that are
17
     not otherwise expressly admitted, qualified, or denied herein.
18
19                                     AFFIRMATIVE DEFENSES

20          1.      The Court lacks jurisdiction over one or more of Plaintiff’s claims.
21
            2.      Plaintiff failed to exhaust its available administrative remedies.
22
            3.      Plaintiff has failed to establish standing.
23
            4.      Plaintiff has failed to identify an indispensable party.
24
25          5.      Plaintiff failed to file within the statute of limitations established by the MSA’s

26   judicial review provision.
27
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     Dated: May 22, 2020                Respectfully submitted,
 1
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                                        Chief
 4
                                        S. JAY GOVINDAN
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                                     CERTIFICATE OF SERVICE
 1
 2          I hereby certify that on May 22, 2020, I electronically filed the foregoing with the Clerk

 3   of the Court for the United States District Court for the Western District of Washington by using
 4
     the CM/ECF system, which will serve a copy of the same on the counsel of record.
 5
 6
 7                                                /s/ Frederick H. Turner
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